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IN THE UNITED sTATEs I)ISTRICT coURT Fluzo ev __,__ o_c_
FOR THE wEsTERN DISTRICT 0F TENNESSEE

  

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FITEC INTERNATIONAL, INC., mgm ;,4' GOULD
A TENNESSEE CORPORATION, CtERt$)U.-S. D»'STF-'F.T CGURT

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Plaintiff,
vs. Civil Action No. 2:04CV2326-D/V
PAUL c. ARDERN, AN INDIVIDUAL JURY DEMANDEI)
sTATE oF FLORIDA,

Defendant, Counter-Plaintiff,
vs.

FITEC INTERNATIONAL, INC.,
A TENNESSEE CORPORATION,

Counter-Defendant.

= v _- ) THIRD AMENDED JOINT SCHEDULING ORDER

Pursuant to written notice, a scheduling conference was held on July 22, 2004. Present
were John R. Branson, counsel for Plaintiff, and Todd B. Mun'ah, counsel for Defendant.
Pursuant to an Order Granting Joint Motion for Continuance and Modification of Scheduling
Order, the following dates were established as the final dates for:

Initial Disclosures: Pursuant to Fed.R.CiV.P 26(a)(1): Auggst 30, 2004.

Joining Parties: Sgptember 30, 2004.

Amended Pleadings: May 1, 2005.

Initial Motions to Dismiss: October 29, 2004.

Completing All Discovery (Note: no additional interrogatories, requests for production of

documents or requests for admissions may be filed or served without leave of the cou

 
   

written consent of opposing counsel): lieme 15, 2006.

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with Rule 58 and .:Jla, . ....`..'-‘ on

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September 15, 2005.

(b) Interrogatories and Requests for Admissions
(filing responses to previously filed interrogatories and requests for admissions):

S tember 15 2005.
(c) Depositions of' Fact Witnesses: November 30 2005.

 

(d) Expert Witness Disclosure (Rule 26):

1) Disclosures of Plaintiff"s Rule 26 Expert Inf`ormation: December 15 2005.

 

2) Disclosures of' Def`endant‘s Rule 26 Expert Inf`ormation: Janug 15, 200é

(e) Expert Witness Depositions: February 15, 2006.
Filing Dispositive Motions: Februa__ry 30, 2006.
OTHER RELEVANT MATTERS:

This case is set for jury trial, and the trial is expected to last §_to__$ days. The presiding
judge will set the pretrial conference date, and trial date.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed.R.Civ.P. 12, 56, 59 and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have not consented to trial before the Magistrate Judge.

This order has been entered afier consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or

extended

IT IS 30 ORDERED.
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usn sTATEs_ _-_' - _ JUDGE

 

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Date: _£®@é//ozj:g@dj

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CV-02326 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

